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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                      )
                                                )
        Plaintiffs,                             )
                                                )    Case No. 16-2105-JAR-JPO
v.                                              )
                                                )
KRIS KOBACH, in his official capacity as        )
Secretary of State for the State of Kansas,     )
                                                )
        Defendant.                              )
                                                )

     PLAINTIFFS’ UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO FILE
     APPLICATION FOR CONTEMPT-RELATED ATTORNEY’S FEES AND COSTS

        COME NOW, Plaintiffs Steven Wayne Fish, Donna Bucci, Charles Stricker, Thomas

Boynton, Douglas Hutchinson, and the League of Women Voters of Kansas (collectively,

“Plaintiffs”), by and through their counsel of record, pursuant to Local Rules 6.1(a) and 7.1(a)(2)

hereby move the Court for an extension of time to submit their Application for Contempt-

Related Attorney’s Fees and Costs.

        In support of this motion, Plaintiffs state the following:

        1.      The parties have consulted on this motion, and this motion is unopposed.

        2.      On April 18, 2018 the Court issued an Order, Doc. 520, setting April 30, 2018 as

 the date for Plaintiffs to submit an Application for Attorney’s Fees and Costs related to

 Plaintiffs’ Motion to Enforce Court Orders and for Order to Show Cause Why Defendant

 Kobach Should Not be Held in Contempt, Doc. 423.

        3.      The time for filing this Application for Attorney’s Fees and Costs has not expired.

        4.      This motion is the first request for an extension of time that Plaintiffs have sought

 regarding this filing.
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       5.     Counsel for Plaintiffs have worked diligently to complete their Application for

Attorney’s Fees and Costs, but require additional time to assemble the necessary documentation

to support the Application.

       6.     Plaintiffs request that this Court grant a one week extension. The new date

Plaintiffs request is May 7, 2018.



       WHEREFORE, Plaintiffs respectfully request that this Court enter an order GRANTING

Plaintiffs’ Unopposed Motion for an Extension of Time to File Application for Contempt-

Related Attorney’s Fees and Costs, so that the Application will be due on May 7, 2018.



DATED this 27th day of April, 2018.

Respectfully submitted,

/s/ Stephen Douglas Bonney                     DALE HO*
STEPHEN DOUGLAS BONNEY (#12322)                R. ORION DANJUMA*
American Civil Liberties Union of Kansas       SOPHIA LIN LAKIN*
6701 W 64th St., Suite 210                     EMILY R. ZHANG*
Overland Park, KS 66202                        American Civil Liberties Union Foundation,
Phone: (913) 490-4100                          125 Broad St.
Fax: (913) 490-4119                            New York, NY 10004
dbonney@aclukansas.org                         Phone: (212) 549-2693
                                               dale.ho@aclu.org
                                               odanjuma@aclu.org
                                               slakin@aclu.org
                                               ezhang@aclu.org

NEIL A. STEINER*                               ANGELA M. LIU*
REBECCA KAHAN WALDMAN*                         Dechert LLP
DAPHNE T. HA*                                  35 West Wacker Drive
Dechert LLP                                    Suite 3400
1095 Avenue of the Americas                    Chicago, Illinois 60601-1608
New York, NY 10036                             Phone: (312) 646 5816
T: (212) 698-3822                              Fax: (312) 646 5858
F: (212) 698-3599                              angela.liu@dechert.com
neil.steiner@dechert.com
rebecca.waldman@dechert.com

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daphne.ha@dechert.com

Counsel for Plaintiffs                 * admitted pro hac vice




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                                  CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 27th day of April, 2018, I electronically

filed the foregoing document using the CM/ECF system, which automatically sends notice and a

copy of the filing to all counsel of record.

                                               /s/ Stephen Douglas Bonney
                                               STEPHEN DOUGLAS BONNEY (#12322)

                                               Attorney for Plaintiffs




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